                                  IN THE
                          TENTH COURT OF APPEALS

                                 No. 10-24-00185-CR
                                 No. 10-24-00186-CR

JORCOREY MCGEE,
                                                            Appellant
v.

THE STATE OF TEXAS,
                                                            Appellee



                          From the 361st District Court
                              Brazos County, Texas
                       Trial Court Nos. 24-01187-CRM-361
                             and 24-001188-CRF-361


                          MEMORANDUM OPINION


      Appellant JorCorey McGee, acting pro se, has filed a notice of appeal in each of

these causes, in which he complains of a judgment nisi pertaining to the forfeiture of his

bail bond.

      Article 44.42 of the Code of Criminal Procedure provides: “An appeal may be

taken by the defendant from every final judgment rendered upon a personal bond, bail

bond or bond taken for the prevention or suppression of offenses, where such judgment
is for twenty dollars or more, exclusive of costs, but not otherwise.” TEX. CODE CRIM.

PROC. ANN. art. 44.42 (emphasis added). A judgment nisi is a judicial declaration of

forfeiture; it is an interlocutory judgment, not a final judgment. Hokr v. State, 545 S.W.2d

463, 465 (Tex. Crim. App. 1977).

       In letters dated July 8, 2024, the Clerk of the Court notified McGee that these

appeals were subject to being dismissed for lack of jurisdiction because they did not

appear to be appeals from a final judgment. The Clerk of the Court further notified

McGee that unless he showed grounds for continuing these appeals within fourteen days

of the date of the letters, the appeals would be dismissed for lack of jurisdiction. McGee

has not filed a response showing grounds for continuing these appeals.

       For these reasons, these appeals are dismissed for lack of jurisdiction.




                                                 MATT JOHNSON
                                                 Justice

Before Chief Justice Gray,
       Justice Johnson, and
       Justice Smith
Dismissed
Opinion delivered and filed August 8, 2024
Do not publish
[CR25]




McGee v. State                                                                        Page 2
